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                              EXHIBIT 2
                            (PART 1 of 3)
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION



  BILLJCO, LLC,

                       Plaintiff,
                                                   Case No. 2:21-cv-00181-JRG
  v.
                                                         (Lead Case)
  CISCO SYSTEMS, INC.,

                       Defendant.


  BILLJCO, LLC,

                       Plaintiff,

  v.                                               Case No. 2:21-cv-00183-JRG
                                                         (Member Case)
  HEWLETT PACKARD ENTERPRISE
  COMPANY, ARUBA NETWORKS, LLC

                       Defendants.



       EXPERT DECLARATION OF DR. JACOB SHARONY, PH.D. IN SUPPORT OF
              PLAINTIFF’S OPENING CLAIM CONSTRUCTION BRIEF




  Dated: December 3, 2021                    Signed:




                                                              Dr. Jacob Sharony, Ph.D.




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 I.           INTRODUCTION

              1.   My name is Jacob Sharony, and I have been retained as a technical expert by Saul

 Ewing Arnstein & Lehr LLP, counsel for Plaintiff BillJCo LLC (“BillJCo” or “Plaintiff”), to

 address the meaning and construction of certain disputed claim terms in U.S. Patent Nos. 8,761,804

 (the “’804 Patent”)1, 10,292,011 (the “’011 Patent”)2, and 10,477,994 (the “’994 Patent”)3

 (collectively, the “Asserted Patents”), which are being asserted by BillJCo in the above-captioned

 litigations against Defendants Cisco Systems, Inc. and Hewlett Packard Enterprise Company and

 Aruba Networks, LLC (collectively, “Defendants”).

 II.          QUALIFICATIONS AND PROFESSIONAL EXPERIENCE

              2.   I have over 35 years of experience working in mobile and wireless technologies,

 which has resulted in over 50 issued patents and numerous publications in scientific journals and

 conferences. I have also served on various government expert panels, including for the National

 Science Foundation and National Institutes of Health.

              3.   Since 2010, I have been an Adjunct Professor of Electrical Engineering at Columbia

 University, teaching graduate level courses on advanced wireless technologies including in the

 areas of wireless sensing and Auto ID technologies, mmWave communications, and applications

 for 5G wireless networks and systems.

              4.   I received a Bachelor’s Degree (1979) and Master’s Degree (1984) in Electrical

 Engineering from Tel Aviv University. I have M.Phil. (1991) and Ph.D. (1993) Degrees in




 1
     Ex. 1.
 2
     Ex. 2.
 3
     Ex. 3.

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 Electrical Engineering from Columbia University. I also have an MBA Degree (1989) from Tel

 Aviv University.

          5.    I have been involved with mobile and wireless networking technologies since the

 mid-1990s working as a researcher, developer, and educator on wireless wide, local, and personal

 area networks (WWAN, WLAN, and WPAN), infrastructure and mobile devices. Over these two-

 and-a-half decades, I have witnessed the change from voice-centric to data-centric networks, and

 have worked on enterprise mobility products and solutions as early as the late 1990s.

          6.    After obtaining my Ph.D., I led the advanced mobile networking group at BAE

 Systems, developing tactical mesh-based wireless network systems for the U.S. Department of

 Defense. I also conducted research and development in advanced mobile and wireless networks.

 My work resulted in several issued patents.

          7.    From 1997 to 2005, I held various positions at Symbol Technologies (acquired by

 Motorola Solutions). While working at Motorola/Symbol I gained substantial experience in

 application-specific and data-capture mobile devices, and wireless networking and architecture

 solutions in several vertical applications, e.g., transportation and logistics, healthcare,

 warehousing, retail, and education, among others. As Senior Director, Research and Development,

 I initiated and led several research and development programs in wireless LAN (local area

 network) technologies including mobile device management and security. As Senior Director,

 Technology Strategy and Development, I was responsible for the research and development of

 new mobile applications for delivering multimedia-rich content to mobile devices connected over

 heterogeneous networks. That work resulted in several U.S. patents.

          8.    In 2004, I founded Mobius Consulting, a consulting firm providing professional

 services in mobile wireless strategy, technologies, systems, and applications, including enterprise

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 mobility, wireless communication networks, mobile embedded devices, device management, and

 mobile applications and services. In this capacity, I have worked with many companies in the

 mobile and wireless ecosystem including service providers and operators, equipment vendors, and

 semiconductor companies.          Since founding Mobius Consulting, I have worked with many

 enterprises interested in deploying mobile and wireless solutions in order to become more

 productive, efficient, and cost effective. These solutions spanned numerous industry sectors and

 involved various mobile and wireless technologies including 3G/4G/5G Cellular, Wi-Fi,

 Bluetooth, ZigBee, and RFID (radio frequency identification). That work resulted in several U.S.

 patents.

          9.     In addition to the summary I have provided here, I describe my education and

 experience in greater detail in my curriculum vitae (CV) attached as Appendix A.

          10.    I am being compensated at a rate of $500 per hour for time spent on this matter.

 My compensation is not related in any way to the outcome of this action. I have no financial

 interest in this matter.

 III.     MATERIALS RELIED UPON

          11.    In preparing my analysis, I have reviewed the Asserted Patents, their U.S. file

 histories, as well as the other materials cited in this declaration. I have also reviewed the claim

 construction materials of both parties, as well as the parties’ Proposed Claim Constructions.

                 •          Ex. 1: U.S. Patent No. 8,761,804

                 •          Ex. 2: U.S. Patent No. 10,292,011

                 •          Ex. 3: U.S. Patent No. 10,477,994

          12.    In reaching the opinions expressed in this declaration and conclusions reached, I

 have also relied on years of education, teaching, research, and experience, and my understanding

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 of the applicable legal principles.

          13.   My analysis of the materials produced in these litigations is ongoing. I will

 continue my review of materials, including any new materials provided to me, or that I discover.

 Therefore, this declaration represents those opinions I have formed to date, and I reserve the right

 to revise, supplement, and amend the opinions stated herein based on new information and on my

 continuing analysis of the materials already considered.

 IV.      UNDERSTANDING OF LEGAL PRINCIPLES

          14.   I am not a legal expert and offer no legal opinions. I have been advised of the

 following general principles of patent law to be considered in formulating my opinions. I have

 applied these principles to the facts set forth in this declaration in rendering my opinions.

          A.    Claim Construction

          15.   I understand that the claims of a patent define the scope of the invention and the

 patentee’s rights. I further understand that claim construction is a matter of law and that claims

 are to be construed by the Court.

          16.   I understand that, as a default rule, courts are to generally construe claims in

 accordance with the plain and ordinary meaning they would have to one of ordinary skill in the art

 in light of the claim language, specification, and prosecution history (i.e., the intrinsic record). In

 this regard, I understand that courts determine the proper meaning of a disputed claim term by first

 looking to the claim language itself, and then to the remaining intrinsic record, but that courts

 should not import limitations into the claims, including from: a preferred embodiment described

 in the specification, the title, and the patent’s purported “purpose.”




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          17.    I further understand that extrinsic evidence outside the intrinsic record—such as

 expert testimony, treatises and dictionaries—may also be considered as an aid in arriving at the

 proper construction.

          18.    I understand that there are only two circumstances in which a court may depart from

 the plain and ordinary meaning: 1) when a patentee sets out a definition and acts as its own

 lexicographer, or 2) when the patentee disavows the full scope of a claim term either in the

 specification or during prosecution. I understand that a disclaimer or disavowal of claim scope

 must be clear and unmistakable, and must include words or expressions of manifest exclusion or

 restriction.

          19.    With respect to a claim’s preamble, I understand that such claim language is only

 limiting if it recites essential structure or steps, or if it is necessary to give life, meaning, and

 vitality to the claim. Conversely, I understand that a preamble is not limiting when the claim body

 describes a structurally complete invention such that deletion of the preamble phrase does not

 affect the structure or steps of the claimed invention, for example, where the preamble phrase

 merely gives a name to the structurally complete invention.

          B.     Validity Under Section 112 of the Patent Act

          20.    I understand that patent claims are presumed valid, and that the patent challenger

 bears the burden of establishing invalidity.

          21.    I understand that the Patent Act requires that the inventor conveys with reasonable

 clarity to those skilled in the art that, as of the priority date of the patent, he or she was in possession

 of the invention, as demonstrated by a sufficient “written description” in the specification. I

 understand that this test requires an objective inquiry into the four corners of the specification from



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 the perspective of a person of ordinary skill in the art. I understand this includes originally-filed

 claims.

           22.   I understand that the Patent Act also has an “enablement” requirement, which is

 met when, at the time of the priority date, one skilled in the art, having read the specification, could

 practice the invention without “undue experimentation.” In assessing whether a patent meets this

 requirement, I understand that the factfinder may assess the following factors: (1) the quantity of

 experimentation necessary, (2) the amount of direction or guidance presented, (3) the presence or

 absence of working examples, (4) the nature of the invention, (5) the state of the prior art, (6) the

 relative skill of those in the art, (7) the predictability or unpredictability of the art, and (8) the

 breadth of the claims.

           23.   I understand that the Patent Act further requires patent claims to particularly point

 out and distinctly claim the subject matter that the applicant regards as the invention. Here, I

 understand that a claim is said to be “indefinite” only if, when viewed in light of the intrinsic

 record, it fails to inform those skilled in the art about the scope of the invention with reasonable

 certainty. I understand that this standard does not mandate mathematical precision, and that terms

 of degree are not inherently indefinite. I further understand that where claim language employs a

 term of degree, it may be definite where it provides enough certainty to one of skill in the art when

 read in the context of the invention.

           24.   It is my understanding that the Defendants did not raise or identify any

 indefiniteness issues under 35 U.S.C. ¶112 in its claim construction materials.




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  V.       LEVEL OF ORDINARY SKILL IN THE ART

           25.        I understand that the priority date of the ’804 Patent is March 14, 2008, the priority

  date of the ’011 Patent is March 14, 2008, and the priority date of the ’994 Patent is March 14,

  2008. I refer to these dates collectively below as the “Claimed Priority Dates.”

           26.        I understand there is a concept in patent law known as a person having ordinary

  skill in the art (“POSITA”). I understand that this concept refers to a person who is trained in the

  relevant technical field of a patent without possessing extraordinary or otherwise exceptional skill.

  I further understand that factors such as the education level of those working in the field, the

  sophistication of the technology, the types of problems encountered in the art, prior art solutions

  to those problems, and the speed at which innovations are made, may help establish the level of

  skill in the art.

           27.        Taking the above-mentioned factors into consideration, it is my opinion that a

  person of ordinary skill in the art as of the Claimed Priority Dates would have at least a Bachelor’s

  degree in electrical engineering, computer science, or a related field, and one to two years of work

  experience in wireless communications and mobile computing devices, or the equivalent.

  Additional graduate education could substitute for professional experience, or significant

  experience in the field could substitute for formal education.

           28.        Based at least on my educational and work experience, it is my opinion that my

  knowledge, expertise, educational background, and experience exceeds that of a POSITA. Indeed,

  it is my opinion that my knowledge, expertise, educational background, and experience at the time

  of the Claimed Priority Dates also exceeded that of a POSITA. Further, my expertise, educational

  background, and experience qualify me to offer opinions on the perspective of a POSITA at the



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  time of the Claimed Priority Dates. To the extent my opinions related to what a POSITA would

  have known or understood, I have formulated my opinions from the POSITA’s perspective.

           29.      I reserve the right to supplement my opinion regarding the level of ordinary skill in

  the art in response to any position adopted by Respondent or its expert(s) regarding this issue.

  VI.      THE AGREED CLAIM TERMS

           30.      I understand that the parties agree on the following claim terms and constructions:

               Asserted           Claim Term                   BillJCo’s           Defendants’
                Patent                                         Proposed              Proposed
                                                             Construction         Construction
         ’011 patent         “wireless data record”       plain and ordinary   plain and ordinary
         (claims 1, 11,                                   meaning              meaning
         20)

         ’804 patent
         (claims 1, 10,
         11, 12)

         ’994 patent
         (claims 1, 8, 14)


  VII.     THE DISPUTED CLAIM TERMS

           31.      I understand that the parties dispute the following claim terms and constructions:

               Asserted           Claim Term                   BillJCo’s           Defendants’
                Patent                                         Proposed              Proposed
                                                             Construction          Construction
         ’011 patent         “application context         plain and ordinary   data identifying a
         (claims 1, 11,      identifier data”             meaning              context in which the
         20)                                                                   application was
                                                                               presented to a user
                                                                               via a user interface
         ’994 patent       “a Bluetooth                   plain and ordinary   Bluetooth as defined
         (claims 1, 8, 14) communications                 meaning              in version 3.0 and
                           interface”                                          earlier versions of
                                                                               the Bluetooth Core
                                                                               Specification


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               Asserted           Claim Term                   BillJCo’s           Defendants’
                Patent                                         Proposed              Proposed
                                                             Construction          Construction
          ’804 patent        “an application in use       plain and ordinary   an application
          (claim 1)          at the sending data          meaning              running on the
                             processing system”                                sending data
                                                                               processing system
          ’804 patent        “identity information        plain and ordinary   an identifier that
          (claim 1)          for describing an            meaning              uniquely identifies
                             originator identity”                              the originator device
          ’011 patent        “application”                plain and ordinary   an entity of
          (claims 1, 11,                                  meaning              processing which
          20)                                                                  can be started,
                                                                               terminated, and
          ’994 patent                                                          have processing
          (claim 1-3, 8-                                                       results
          10, 14-16)
                                                                               Applications (i.e.
          ’804 patent                                                          executables) can be
          (claims 1, 11)                                                       started as a
                                                                               contextual launch,
                                                                               custom launch
                                                                               through an API or
                                                                               command line, or
                                                                               other launch method
                                                                               of an executable for
                                                                               processing

  VIII. THE ’011 PATENT

            32.     The ’011 Patent is titled “System and Method for Location based Exchange

  Network.”4 The invention “relates generally to location based services for mobile data processing

  systems, and more particularly to location based exchanges of data between distributed mobile

  data processing systems for locational applications.”5 The Patent further discloses:

                    A common connected service is not required for location based for
                    functionality and features. Location based exchanges of data


  4
      ’011 Patent (Ex. 2).
  5
      ’011 Patent at 1:36-40.

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                   between distributed mobile data processing systems enable location
                   based features and functionality in a peer to peer manner.6

            33.    The ’011 Patent describes the need for a method for “enabling users to get location

  dependent features and functionality through having their mobile locations known, regardless of

  whether or not their MS [or Mobile data processing System] is equipped for being located. Also,

  new and modern location dependent features and functionality can be provided to a MS

  unencumbered by a connected service.”7 The patent discloses new terminology, system and,

  method referred to as Location Based Exchange (LBX) which “provide server-free and server-less

  location dependent features and functionality.” (’011 Patent at 4:29-31). The ’011 Patent also

  discloses that “[i]t is an advantage [] enabling useful distributed applications without the necessity

  of having a service, and without the necessity of users and/or systems registering with a service.

  MSs interact as peers in preferred embodiments, rather than as clients to a common service (e.g.

  internet connected web service).” (’011 Patent at 4:62-67).

            34.    The ’011 Patent claims the following:




  6
      ’011 Patent at 1:40-44.
  7
      ’011 Patent at 3:65-4:3.

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           35.   It is my understanding that the parties dispute the constructions of two terms in the

  ’011 Patent: “application context identifier data” and “application”. I provide my opinions

  regarding the proposed constructions of these two terms in the sections below. In forming my

  opinions, I considered intrinsic evidence (including the claim language and specification of the

  ’011 Patent and prosecution history), extrinsic evidence, and the knowledge of a POSITA based

  on my education, background and experience.

           A.    “application context identifier data”

     Asserted Claim             BillJCo’s Proposed                     Defendants’ Proposed
                                    Construction                            Construction
   ’011 patent           plain and ordinary meaning             data identifying a context in which
   (claims 1, 11, 20)                                           the application was presented to a
                                                                user via a user interface

           36.   In my opinion, a POSITA would have understood the plain and ordinary meaning

  of the term “application context identifier data” such that no construction of this term is necessary.

  Each of the words in this term would be understood by a POSITA in light of the specification of
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  the ’011 Patent. Thus, in my opinion, BillJCo’s proposed construction of the plain and ordinary

  meaning of this term should be adopted.

           37.   Turning to Defendants’ proposed construction, I have reviewed the specification of

  the ’011 Patent, and have not found any support or reason to limit the term as “the application was

  presented to a user via a user interface.” Rather, the claim term refers to an “application context

  identifier data identifying location based content for presenting… to a user interface.” ’011, claim

  1. There is no reference to affirmatively “identifying a context” in which “the application was

  presented to a user.” In other words, there is no requirement that the application be presented to

  the user. In one example, the application could be in the background (i.e., not presented to the

  user) and the content could be presented on a different application or on the home screen (alert

  or indication). This is addressed in the specification under “Automatic Application Association

  Processing” (’011 at 423:45-424: 56). Specifically, “Cross application addressing refers to being

  involved with one or more MS users within the context of one application and then addressing

  those same users in context of a different application. This involves mapping an identifier in

  context of one application with an identifier in context of another application.” (’011 at

  423:48-53, emphasis added). In other words, context of one application can be mapped to another

  context in a different application and there is no requirement for presenting any application to a

  user via a user interface. Also, Fig. 65B-5 describes composing an application context without

  presenting an application to the user via a user interface.        Specifically, in Operand 231,

  “Composing an application context causes invocation of the application [but not presenting the

  application] at the MS and then executing a macro within the application context.” (’011 at Fig.

  65B-5, emphasis added). A POSITA would have understood that “application context identifier

  data” can be data which references some application context and a block (or step) of the application

                                                  15

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  processing that can be identified with data, and no user interface is required. The “data” may be

  in many forms depending on the embodiment (e.g., see ’011 at 83:8-33 describing application

  fields at the time of completing or originating a WDR, or FIG. 53 depicting a preferred

  embodiment of a prefix registry record).       In sum, there is no evidence to unduly restrict

  “application context identifier” as requiring “an application that was presented to a user via a user

  interface.”

           38.   For at least these reasons, it is my opinion that the term should not be construed,

  and the term should be given its plain and ordinary meaning.

           B.    “application”

     Asserted Claim             BillJCo’s Proposed                    Defendants’ Proposed
                                    Construction                           Construction
   ’011 patent           plain and ordinary meaning            an entity of processing which can
   (claims 1, 11, 20)                                          be started, terminated, and have
                                                               processing results

                                                               Applications (i.e. executables) can
                                                               be started as a contextual launch,
                                                               custom launch through an API or
                                                               command line, or other launch
                                                               method of an executable for
                                                               processing

           39.   In my opinion, a POSITA would have understood the plain and ordinary meaning

  of the term “application” such that no construction of this term is necessary. In my opinion,

  BillJCo’s proposed construction of the plain and ordinary meaning of this term should be adopted.

           40.   Turning to Defendants’ proposed construction, I have reviewed the specification of

  the ’011 Patent and the Asserted Patents, and have not found any reference or reason to further

  narrow the term. The term “application” is common and self-explanatory such that a POSITA

  would have understood. What Defendants propose is limiting the plain and ordinary meaning to

  verbatim texts from the specification (“an entity of processing which can be started, terminated,
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  and have processing results” (’011 at 269:55-56) and “Applications (i.e. executables) can be started

  as a contextual launch, custom launch through an API or command line, or other launch method

  of an executable for processing” (’011 at 269:57-59)). In both of these verbatim texts the phrase

  “can be” suggests that it is a possibility and not a requirement. Also, the second verbatim text uses

  a form of the word “application” to define “application.” In my opinion, this is not a clear

  definition, let alone justification for limiting the construction to Defendants’ selected excerpts from

  the specification.

            41.    For at least these reasons, it is my opinion that the term should not be construed,

  and should be given its plain and ordinary meaning.

  IX.       THE ’994 PATENT

            42.    The ’994 Patent is titled “System and Method for Location based Exchanges of

  Data Facilitiating (sic) Distributed Locational Applications.”8 The invention “relates generally to

  location based services for mobile data processing systems, and more particularly to location based

  exchanges of data between distributed mobile data processing systems for locational

  applications.”9 The Patent further discloses:

                   A common connected service is not required for location based for
                   functionality and features. Location based exchanges of data
                   between distributed mobile data processing systems enable location
                   based features and functionality in a peer to peer manner.10

            43.    The ’994 Patent describes the need for a method for “enabling users to get location

  dependent features and functionality through having their mobile locations known, regardless of



  8
      ’994 Patent (Ex. 3).
  9
      ’994 Patent at 1:43-47.
  10
       ’994 Patent at 1:47-51.

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  whether or not their MS [or Mobile data processing System] is equipped for being located. Also,

  new and modern location dependent features and functionality can be provided to a MS

  unencumbered by a connected service.”11 The patent discloses new terminology, system and,

  method referred to as Location Based Exchange (LBX) which “provide server-free and server-less

  location dependent features and functionality.” (’994 Patent at 4:38-40). The ’994 Patent also

  discloses that “[i]t is an advantage [] enabling useful distributed applications without the necessity

  of having a service, and without the necessity of users and/or systems registering with a service.

  MSs interact as peers in preferred embodiments, rather than as clients to a common service (e.g.

  internet connected web service).” (’994 Patent at 5:4-9).

            44.    The ’994 Patent claims the following:




  11
       ’994 Patent at 4:8-13.

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